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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTOLIGHT LIMITED,

               Plaintiff,

       v.                                                C.A. No. 22-928-MN-JLH

VIDENDUM PLC, and VIDENDUM
PRODUCT SOLUTIONS, INC.,

               Defendants.

                     REPORT AND RECOMMENDATION AND ORDER

        1.      For the reasons announced from the bench at the conclusion of the June 6, 2023

 hearing, I recommend that Videndum PLC’s Motion to Dismiss the First Amended Complaint

 Under FRCP 12(b)(2) (D.I. 30) be DENIED without prejudice to refile after jurisdictional

 discovery has occurred.

        2.      For the reasons announced at the June 6, 2023 hearing, it is hereby ORDERED that

 Rotolight Limited may take jurisdictional discovery.

        3.      It is further ORDERED that, within thirty days, the parties shall jointly prepare and

 file the following: (a) a proposed Scheduling Order consistent with Judge Hall’s “Rule 16

 Scheduling Order – Patent” up through and including paragraph number 15 (i.e., up to but not

 including case dispositive motions) and consistent with paragraphs 15-22 of Judge Noreika’s

 “Patent Scheduling Order (non-ANDA),” and includes additional provisions regarding the scope

 and timing of jurisdictional discovery and a schedule for briefing any renewed motion to dismiss

 for lack of personal jurisdiction; and (b) a letter, not to exceed three pages, setting forth (i) the

 parties’ positions regarding any disputes in the proposed Scheduling Order; and (ii) a list of any

 other issues the parties want to address at the Rule 16 Scheduling Conference. Thereafter, the
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 Court may schedule a Rule 16 Scheduling Conference to be held with Judge Hall. The Scheduling

 Orders can be found on Judge Noreika’s and Judge Hall’s portions of the District Court’s website.



 Dated: June 6, 2023                                 ___________________________________
                                                     The Honorable Jennifer L. Hall
                                                     UNITED STATES MAGISTRATE JUDGE




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